      Case 4:16-cv-00730 Document 78 Filed in TXSD on 06/29/18 Page 1 of 8



                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

JUSTIN NOVICK, CHRIS KEHN,                    §
CHARLES BETHAS, JAMES ABRAHAM,                §
AND ZAHID ISLAM,                              §
                                              §
                Plaintiffs,                   §
                                              §
VS.                                           §      CIVIL ACTION NO. 4:16-CV-00730
                                              §
SHIPCOM WIRELESS, INC.                        §
            Defendant.                        §


                                    JURY QUESTIONS

         The court gave the following questions to the jury on June l.~, 2018.



         Signed at Houston, Texas, on June~' 2018.




                                              1
  Case 4:16-cv-00730 Document 78 Filed in TXSD on 06/29/18 Page 2 of 8


                                  QuESTION No.   1

       Has Defendant Shipcom Wireless, Inc. proved that Plaintiff Justin Novick was

exempt from the overtime-pay requirement as an administrative employee?

       Answer Yes or No:          kJO




                                          2
  Case 4:16-cv-00730 Document 78 Filed in TXSD on 06/29/18 Page 3 of 8



                                  QuEsTioN No. 2

       Has Defendant Shipcom Wireless, Inc. proved that Plaintiff Chris Kehn was

exempt from the overtime-pay requirement as an administrative employee?

       Answer Yes or No:          tJD




                                          3
  Case 4:16-cv-00730 Document 78 Filed in TXSD on 06/29/18 Page 4 of 8



                                  QuESTION No.   3

       Has Defendant Shipcom Wireless, Inc. proved that Plaintiff Charles Bethas was

exempt from the overtime-pay requirement as an administrative employee?

       Answer Yes or No:




                                         4
   Case 4:16-cv-00730 Document 78 Filed in TXSD on 06/29/18 Page 5 of 8



                                  QUESTION NO.4

       Has Defendant Shipcom Wireless, Inc. proved that Plaintiff James Abraham was

exempt from the overtime-pay requirement as an administrative employee?

       Answer Yes or No:         }JD




                                          5
   Case 4:16-cv-00730 Document 78 Filed in TXSD on 06/29/18 Page 6 of 8



                                  QuESTION No. 5

       Has Defendant Shipcom Wireless, Inc. proved that Plaintiff Zahid Islam was

exempt from the overtime-pay requirement as an administrative employee?

       Answer Yes or No:




                                         6
   Case 4:16-cv-00730 Document 78 Filed in TXSD on 06/29/18 Page 7 of 8



                                  QuEsTioN No. 6

       Were Shipcom Wireless, Inc.'s actions taken m good faith with reasonable

grounds for believing that its actions or omissions were not in violation of the Fair

Labor Standards Act?

      Answer "Yes" or "No."




                                         7
      Case 4:16-cv-00730 Document 78 Filed in TXSD on 06/29/18 Page 8 of 8




                                       CERTIFICATE

       We, the jury, have answered the above and foregoing questions unanimously, and

herewith return the same into court as our verdict.



         r     Dafe                          J        Jury Foreperson




                                                 8
